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                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 8
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9

10     In re:                                      Case No.: 24-41481-MJH

11     JENNIFER RUTH KAMP,                         PROPOSED
                                                   ORDER SUSTAINING TRUSTEE’S
12                                                 OBJECTION TO CLAIM
                                         Debtor.
13

14          THIS MATTER having come before the Court pursuant to the Standing Chapter 13

15   Trustee’s Objection to Claim and the Court having reviewed the records and files herein and

16   being fully advised, it is hereby

17          ORDERED that the Trustee’s Objection to Claim No. 5-1, filed by Hepworth Legal in

18   the amount of $97,420.05 is sustained and the entire amount of the claim is hereby disallowed.

19                                           ///End of Order///

20   Presented by:
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22
     Amanda S. Douglass, WSBA #58822 for
23   Michael G. Malaier, Chapter 13 Trustee

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25
                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
                                                                             5219 N. Shirley, Suite 101
     ORDER SUSTAINING CLAIM OBJECTION              -1                               Ruston, WA 98407
                                                                                        (253) 572-6600
     Case 24-41481-MJH          Doc 102-1    Filed 10/30/24       Ent. 10/30/24 14:31:38      Pg. 1 of 1
